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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,
                         Plaintiff,
Vs.                                                       Case Number: 19-CR-3113 JB
AMANDA SILVA, et al.
                         Defendant.
              OPPOSED MOTION TO SET CONDITIONS OF RELEASE FOR
                                 DEFENDANT AMANDA SILVA
       COMES NOW Defendant Amanda Silva, by and through her Criminal Justice Act

appointed counsel of record, Charles Fisher, and files this Motion to Set Conditions of Release for

Defendant Amanda Silva.

       Undersigned counsel has conferred with counsel for the government, Assistant United

States Attorney Kristopher Houghton and Assistant United States Attorney Robert Goldaris, and

they oppose this Motion.

       On September 23, 2019, before United States Magistrate Judge Karen Molzen, Defendant

Amanda Silva entered pleas of Not Guilty to both the conspiracy Count alleged in Count 1 of the

Indictment,   alleging     conspiracy   to   distribute    a   mixture   and   substance   containing

methamphetamine in violation of 21 U.S.C. §841(a)(1) and 21 §U.S.C. 841(a)(1)(C), and Count

14 of the Indictment alleging possession with intent to supply a mixture and substance containing

methamphetamine in violation of 21 U.S.C. §841(a)(1) and 21 §U.S.C. 841(a)(1)(C).

       On September 25, 2019, again before United States Magistrate Judge Karen Molzen,

Amanda Silva requested release to the third party custody of her mother, Frances Silva. Amanda

Silva has worked as a carer for the elderly for many years. She has worked in that capacity and


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wishes to continue to do so. She indicated her preparedness to submit herself to any required drug

testing.

           United States Magistrate Judge Karen Molzen ordered that Defendant Amanda Silva be

detained pending the trial. See Exhibit 1, Order of Detention of Defendant Amanda Silva, dated

9/25/2019 [Doc. 94].

           Defendant Amanda Silva’s current Pretrial Services Officer is Daniel Stewart. He

interviewed her on September 23, 2019. Apparently, Ms. Silva was less than cooperative with

Pretrial Services Officer Stewart. She declined to answer a number of questions that Pretrial

Services Officer Stewart asked her.

           Undersigned counsel has requested that Defendant Amanda Silva be interviewed again by

United States Pretrial Services. Ms. Silva is prepared to be interviewed again and this time is

prepared to cooperate fully with the interview process. Ms. Silva is currently detained at the

McKinley County Adult Detention Facility. Her Inmate Number is 07493151. Undersigned

counsel believes that a fresh interview would enable Ms. Silva to restore confidence in her ability

to answer all questions in a truthful manner.

           Undersigned counsel believes that there are conditions of release that could be fashioned

to enable Ms. Silva to be entrusted to the third party custody of her mother, Frances Silva.

           Ms. Silva has worked as a carer for the elderly for many years.

           Ms. Silva is fully prepared to undergo drug testing. She will also cooperate with any and

all conditions that would be imposed on her.

           WHEREFORE, premises considered, undersigned counsel respectfully requests that

United States Probation and Pretrial Services be permitted to conduct another interview with

Defendant Amanda Silva at the McKinley County Adult Detention Facility in Gallup, New



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Mexico; that the Court consider the results of that subsequent interview with Defendant Amanda

Silva; and that the Court impose such conditions as will enable Defendant Amanda Silva to remain

at liberty until the trial takes place; and for such further relief to which the Court determines

Defendant Amanda Silva may be entitled.

                                              Respectfully submitted,

                                              /s/ Charles Fisher
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                                              Attorney for Defendant Amanda Silva

                                      Certificate of Service

I hereby certify that, on October 17, 2019, the foregoing pleading was filed electronically pursuant
to CM/ECF procedures for the District of New Mexico, which caused the parties and/or their
counsel to be served by electronic transmission, as more fully reflected by the Notice of Electronic
Filing.
/s/ Charles Fisher
Charles Fisher




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